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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                   Plaintiff,                            4:21-CR-3003

vs.
                                                            ORDER
BRANDON GOODSELL,

                   Defendant.


      The defendant has filed a motion to proceed in forma pauperis (filing
105) in connection with his motion to vacate pursuant to 28 U.S.C. § 2255
(filing 104). The motion to proceed in forma pauperis was unnecessary, because
there is no fee for a § 2255 motion. See Rules Governing § 2255 Proc. for the
U.S. Dist. Cts. Rule 3 advisory committee's note. Accordingly,


      IT IS ORDERED that the defendant's motion to proceed in forma
      pauperis (filing 105) is denied as moot.


      Dated this 21st day of February, 2025.


                                           BY THE COURT:



                                           John M. Gerrard
                                           Senior United States District Judge
